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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

 UNITED STATES OF AMERICA ex rel.              §
 BROOK JACKSON,                                §
                                               §
         Plaintiff,                            §
                                               §      CIVIL ACTION NO. 1:21-CV-00008
 v.                                            §       JUDGE MICHAEL TRUNCALE
                                               §
 VENTAVIA RESEARCH GROUP, LLC;                 §
 PFIZER, INC.; ICON, PLC,                      §
                                               §
         Defendants.                           §

      ORDER DENYING AS MOOT VENTAVIA RESEARCH GROUP, LLC’S
                        MOTION TO DISMISS

       Before the Court is Defendant Ventavia Research Group, LLC (“Defendant”)’s

Motion to Dismiss. [Dkt. 50]. Subsequent to this filing, Defendant filed its Corrected

Motion to Dismiss. [Dkt. 53]. In light of Defendant’s corrected filing, the Court denies as

moot Defendant’s Motion to Dismiss [Dkt. 50].

       It is therefore ORDERED that Defendant Ventavia Research Group, LLC’s Motion

to Dismiss [Dkt. 50] is hereby DENIED AS MOOT.

                               SIGNED this 12th day of August, 2022.




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                                                            Michael J. Truncale
                                                            United States District Judge
